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                   EXHIBIT 4
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                                                KYC Profile


               Customer Details


                Customer Legal Name
                HBRK ASSOCIATES INC

                 ECI
                0220795242

                AML Customer Type
                Non-Operating/Asset Holding




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                                                                      KYC Profile
     Customer Information
     Customer Name: HBRK ASSOCIATES INC




          Customer Details


               Full Legal Business Name

               HBRK ASSOCIATES INC

               DBA Name(s)




               ECID

               0220795242 tt

               Type of ID                                                        ID Number

               TIN                                                               )000CK3838




          Detailed Business Description and North American Industry Classification (NAICS)


               NAICS Code and Description                                        Provide a detailed description of the business

               Personal investment Companies 525997




          Business Structure


               Document the lega€ entity type

               Corporation

               Ownership Type

               Privately Held




          Contact Information


               Physica€ address of principal place of business or local office

               575 LEX€NGTON AVE FL 4
               NEW YORK, New York 100226146
               United States/US territories




          Other Details


               AML Customer Type                                                 AML Customer Subtype(s)

               Non-Operating/Asset Holding

               AML Sub LOB Owner                                                 AML Product Type

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                                                                KYC Profile


               List Type                       Evidence                          Document Name

                                                                                                                       Relationship
                                                                                                                       List -
                                                                                                                       Enterprise
                                                                                                                       Wide.BDF


                Description of True Match
                DESCRIPTION OF TRUE MATCH;


                Additional AML comments : Customer is a match from Terminated Relationship Screening.
                AML previously closed customer relationship. Please refer to AML Account Closing Case
                LOELESC_NA_130677424. Open accounts under ECI 0348712448.
                RELATED PARTY ECI: 0396523581
                LOB CLOSURE CASE: CCB Consumer
                DATE OF CLOSURE: 10/07/2019
                REGION &COUNTRY: N/A USA


                RELATIONSHIP MANAGER (if available): N/A




                OUTCOME AND RATIONALE:

                CCB is EXITING and adding/affirming the TRMR1. record for R€CHARD D KAHN (ECI: 0348712.448
                & 0441927296), RDK PROPERTIES LLC (ECI 0396523581), as approved by Jennifer
                Haycook/I615125 this escalation was a direct match/had direct account ownership to a
                previously closed entity that was terminated by the firm. Based on the aforementioned
                information, this escalation will be submitted through the closure process due to the
                previously identified AML/KYC risks with closure reason of unresolved operational risk and
                chase affiliate has closed your account.


                RICHARD KAHN (ECI: 0348712448 & 0441927296) is a true match via ECI and is the sole
                owner of ROK PROPERTIES LLC (ECI 0396523581). Customer was previously exited for RICHARD
                KAHN was a primary actor in the movement of EPSTEINs funds, employed as his longtime
                lawyer/accountant. KAHN is president of EPSTEINs charity, controlled the movement of
                EPSTEINS funds that potentially assisted in facilitating the sex trafficking ring, and is one of two
                executors of EPSTEINs will. Based on the aforementioned, we affirm the previous decision to
                exit the customer.
                Does this matter need to be escalated?
                Yes

                To whom was this escaiated?
                Title
                Sr Business Management
                Indicate the outcome of the escalation and provide a rationale

                DESCRIPTION OF TRUE MATCH:


                Additional AML comments : Customer is a match from Terminated Relationship Screening.




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                                                             KYC Profile


               List Type                       Evidence                      Document Name

                AML previously c€osed customer relationship. Please refer to AML Account Closing Case
                LOB...ESC...M..130677424. Open accounts under ECI 0348712448.
                RELATED PARTY ECI: 0396523581
                LOB CLOSURE C.ASE: CCB Consumer
                DATE OF CLOSURE: 10/07/2019
                REGION &COUNTRY: N/A USA


                RELATIONSHIP MANAGER (if available): N/A




                OUTCOME AND RATIONALE:

                CCB is EXITING and adding/affirming the TRMRL record for R€CHARD D KAHN (ECI: 0348712448
                & 0441927296), RDK PROPERTIES LLC (ECI 0396523581), as approved by Jennifer
                Haycook/I61512.5 this escalation was a direct match/had direct account ownership to a
                previously closed entity that was terminated by the firm, Based on the aforementioned
                information, this escalation will be submitted through the closure process due to the
                previously identified AMLIKYC risks with closure reason of unresolved operational risk and
                chase affiliate has closed your account.


                RICHARD D KAHN (ECI: 0348712448 & 0441927296) is a true match via ECI and is the sole
                owner of RDK PROPERTIES LLC (ECI 0396523581). Customer was previously exited for RICHARD
                KAHN was a primary actor in the movement of EPSTEINs funds, employed as his longtime
                lawyer/accountant. KAHN is president of EPSTEINs charity, controlled the movement of
                EPSTEINS funds that potentially assisted in facilitating the sex trafficking ring, and is one of two
                executors of EPSTEINs will. Based on the aforementioned, we affirm the previous decision to
                exit the customer.


                 Internal and Other              Internal and Other          RICHARD D KAHN                            Terminated
                                                                                                                       Relationship
                                                                                                                       List -
                                                                                                                       Enterprise
                                                                                                                       Wide.BDF


                Description of True Match
                DESCRIPTION OF TRUE MATCH:

                Additional AML comments : Customer is a match from Terminated Relationship Screening.
                AML previously closed customer relationship. Please refer to AML Account Closing Case
                LOB_ESC_NA_126389423 Open accounts under ECI: 0348712448 Related ECI: N/A LOB
                CLOSURE CASE: CCB DATE OF CLOSURE: 08/26/2019 REGION
                Does th€s matter need to be escalated?
                Yes

                To whom was this escalated?
                title
                Sr Business Management




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